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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF NEW JERSEY


 KEYLA D. BELL, Individually and On               No.: 2:21-cv-13543-KM-MAH
 Behalf of All Others Similarly Situated,
                                                  ORDER APPOINTING LEAD
              Plaintiff,                          PLAINTIFF AND APPROVING
                                                  LEAD PLAINTIFF’S
              vs.                                 SELECTION OF COUNSEL

 KANZHUN LIMITED, PENG ZHAO, YU CLASS ACTION
 ZHANG, XU CHEN, AND TAO ZHANG ,
                                 Motion Date: October 4, 2021
          Defendants.




      WHEREAS, the above-captioned securities class actions have been filed

against Kanzhun Limited, Peng Zhao, Yu Zhang, Xu Chen, and Tao Zhang, alleging

violations of the federal securities laws;

      WHEREAS, pursuant to the Private Securities Litigation Reform Act of 1995

(“PSLRA”), 15 U.S.C. § 78u-4(a)(3)(A)(i), on July 12, 2021, a notice was issued

to potential class members of the action informing them of their right to move to

serve as lead plaintiff within 60 days of the date of the issuance of said notice;

      WHEREAS, on September 10, 2021, 2021, Plaintiff Keyla Bell (“Movant”)

timely moved the Court for appointment as lead plaintiff and to approve his

selection of counsel;

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      WHEREAS, the PSLRA, provides, inter alia, that the most-adequate plaintiff

to serve as lead plaintiff is the person or group of persons that has either filed a

complaint or has made a motion in response to a notice, and has the largest financial

interest in the relief sought by the Class and satisfies the pertinent requirements of

Fed. R. Civ. P. 23;

      WHEREAS, the Court finding that Movant has the largest financial interest

in this action and prima facie satisfies the typicality and adequacy requirements of

Fed. R. Civ. P. 23. See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I);

IT IS HEREBY ORDERED THAT:

      APPOINTMENT OF LEAD PLAINTIFF AND LEAD COUNSEL

      1.     Pursuant to Section 21D of the Exchange Act, Movant is appointed as

Lead Plaintiff of the class, as Movant has the largest financial interest in this

litigation and otherwise satisfies the requirements of Fed. R. Civ. P. 23.

      2.     Movant’s choice of counsel is approved, and accordingly, The Rosen

Law Firm, P.A. is appointed as Lead Counsel.

      3.     Lead Counsel, after being appointed by the Court, shall manage the

prosecution of this litigation. Lead Counsel is to avoid duplicative or unproductive

activities and is hereby vested by the Court with the responsibilities that include,

without limitation, the following: (1) to prepare all pleadings; (2) to direct and

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coordinate the briefing and arguing of motions in accordance with the schedules set

by the orders and rules of this Court; (3) to initiate and direct discovery; (4) to

prepare the case for trial; and (5) to engage in settlement negotiations on behalf of

Lead Plaintiff and the Class.

                                       SO ORDERED:



                                         /s/ Kevin McNulty
Dated January 4, 2021                  ___________________________________
                                       Honorable Kevin McNulty
                                       United States District Judge




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